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FILED: January 16, 2020

 

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

 

No. 19-7114
(1:10-cr-00493-JKB-1)

 

UNITED STATES OF AMERICA
Plaintiff - Appellee

V.

STEVEN BLACK WELL

Defendant - Appellant

 

JUDGMENT

 

In accordance with the decision of this court, the district court order entered

 

July 19, 2019, is vacated. This case is remanded to the district court for further

proceedings consistent with the court's decision.

This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.
/s/ PATRICIA S. CONNOR, CLERK

 
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UNPUBLISHED

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT.

 

No. 19-7114

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UNITED STATES OF AMERICA,
Plaintiff - Appellee,
Vv.
STEVEN BLACKWELL,

Defendant - Appellant.

pS

 

Appeal from the United States District Court for the District of Maryland, at Baltimore.
James K. Bredar, Chief District Judge. (1: 10-cr-00493-JKB-1)

—$—$————

Submitted: January 9, 2020 . Decided: January 16, 2020

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Before WILKINSON and THACKER, Circuit Judges, and TRAXLER, Senior Circuit
Judge.

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Vacated and remanded by unpublished per curiam opinion. —

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James Wyda, Federal Public Defender, Sapna Mirchandani, Appellate Attorney, OFFICE
OF THE FEDERAL PUBLIC DEFENDER, Greenbelt, Maryland, for Appellant. Ellen
Nazmy, Special Assistant United States Attorney, Lauren Konezos, Volunteer Student Law
Clerk, OFFICE OF THE UNITED STATES ATTORNEY, Greenbelt, Maryland, for
Appellee.

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Unpublished opinions are not binding precedent in this circuit.

 

 
 

 

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PER CURIAM:
Steven Blackwell appeals the district court’s order denying his 18 U.S.C.
§ 3582(c)(2) (2018) motion for a sentence reduction based on Sentencing Guidelines
Amendment 782. On appeal, Blackwell primarily challenges the sufficiency of the district
court’s explanation. For the reasons that follow, we vacate and remand.
“[A] sentence modification is not a plenary resentencing proceeding,” United States
y. Martin, 916 F.3d 389, 396 (4th Cir. 2019) (internal quotation marks omitted), and,
“absent a contrary indication, we presume a district court deciding a § 3582(c)(2) motion
- has considered the 18 U.S.C. § 355 3(a) [(2018)] factors and other pertinent matters before

it,” United States v. Smalls, 720 F.3d 193, 195-96 (4th Cir. 2013) (internal quotation marks

 

omitted) (citing United States v. Legree, 205 F.3d 724, 728-29 (4th Cir. 2000)). However,
qa defendant may use mitigating evidence to rebut this presumption, Martin, 916 F.3d at
396, at which point the district court must then provide the defendant with an individualized
explanation for its resolution of the motion, id. at 397. And while the issue of a defendant's
entitlement to a sentence reduction remains committed to the district court’s sound
discretion, see id. at 395, “a district court cannot ignore a host of mitigation evidence and
summarily deny a motion to reduce a sentence and leave both the defendant and the
appellate court in the dark as to the reasons for its decision,” id. at 398. Whether the district
court was required to provide an individualized explanation for its § 3582(c)(2) decision is
a question of law we review de novo. Id. at 395.

Here, Blackwell argued that he deserved a sentence reduction in view of the

substantial progress he had made during his incarceration, including earning his GED,

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moving down to the lowest security classification, serving as an orderly in the prison’s
recreational facility, and receiving positive reviews from his case manager and prison
counselor. In opposition, the Government asserted that Blackwell, who stood convicted of
three nominally nonviolent conspiracies, involved himself in several episodes of serious,
gang-related violence prior to his arrest. In reply, Blackwell maintained that such
allegations—taken from various media reports—were outside the scope of the factual
narrative to which the parties agreed during the underlying plea proceedings. In a summary
order, the district court denied the motion, noting its “consideration of the full scope of the
record, particularly the circumstances agreed by the parties at the time of the conviction.”
(J.A.! 88).

We conclude that Blackwell’s submission of several pieces of post-sentencing
mitigation evidence adequately rebutted the so-called Legree presumption, thus requiring

the district court to provide an individualized explanation for its denial of the § 3582(c)(2)

 

motion.? Furthermore, exercising our broad discretion when reviewing § 3582(c)(2)
orders, Martin, 916 F.3d at 398, we observe other deficiencies in the court’s order that
warrant clarification on remand. First, we are unable to discern what the court meant when

alluding to the “circumstances agreed by the parties at the time of the conviction.” (J.A.

 

' Citations to “J.A.” refer to the joint appendix filed by the parties in this appeal.

2 We note that the Government has disputed some of Blackwell’s evidence, thereby
providing additional reason for the district court to explain its decision. See Martin, 916
F.3d at 396 (indicating that motion’s complexity weighs in favor of individualized
explanation).

 

 
 

 

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88). Insofar as the court intended to refer to the factual findings laid out in the presentence
report and adopted at sentencing, we note that a mere “recitation of [the defendant’s]
original criminal behavior .. . is not the standard ... for sentence-reduction motions.”
Martin, 916 F.3d at 397. In addition, the court’s summary order leaves unanswered
whether the court credited the media accounts of Blackwell's violent past and, if so,
whether reliance on such evidence was permissible.

Accordingly, we vacate the district court’s order and remand so that the district court
can provide “a more robust and detailed explanation for why it denied [Blackwell’s] motion
to reduce.” Jd. at 396. We of course express no view on the merits of that motion. We
dispense with oral argument because the facts and legal contentions are adequately

presented in the materials before this court and argument would not aid the decisional

process.

VACATED AND REMANDED
 

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FILED: January 16, 2020

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 19-7114, US v. Steven Blackwell
1:10-cr-00493-JKB-1

 

NOTICE OF JUDGMENT

 

Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
advised of the following time periods:

PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for
certiorari must be filed in the United States Supreme Court within 90 days of this
court's entry of judgment. The time does not run from issuance of the mandate. Ifa
petition for panel or en banc rehearing is timely filed, the time runs from denial of
that petition. Review on writ of certiorari is not a matter of right, but of judicial
discretion, and will be granted only for compelling reasons.
(www.supremecourt.gov)

VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED
COUNSEL: Vouchers must be submitted within 60 days of entry of judgment or
denial of rehearing, whichever is later. If counsel files a petition for certiorari, the
60-day period runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is
being made from CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher
through the CJA eVoucher system. In cases not covered by the Criminal Justice
Act, counsel should submit the Assigned Counsel Voucher to the clerk's office for
payment from the Attorney Admission Fund. An Assigned Counsel Voucher will
be sent to counsel shortly after entry of judgment. Forms and instructions are also
available on the court's web site, www.ca4.uscourts. gov, OF from the clerk's office.

BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
39, Loc. R. 39(b)).

 
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PETITION FOR REHEARING AND PETITION FOR REHEARING EN
BANC: A petition for rehearing must be filed within 14 calendar days after entry of
judgment, except that in civil cases in which the United States or its officer or
agency is a party, the petition must be filed within 45 days after entry of judgment.
A petition for rehearing en banc must be filed within the same time limits and in the
same document as the petition for rehearing and must be clearly identified in the
title. The only grounds for an extension of time to file a petition for rehearing are
the death or serious illness of counsel or a family member (or of a party or family
member in pro se cases) or an extraordinary circumstance wholly beyond the
control of counsel or a party proceeding without counsel.

Each case number to which the petition applies must be listed on the petition and
included in the docket entry to identify the cases to which the petition applies. A
timely filed petition for rehearing or petition for rehearing en banc stays the
mandate and tolls the running of time for filing a petition for writ of certiorari. In
consolidated criminal appeals, the filing of a petition for rehearing does not stay the.
mandate as to co-defendants not joining in the petition for rehearing. In
consolidated civil appeals arising from the same civil action, the court's mandate
will issue at the same time in all appeals,

A petition for rehearing must contain an introduction stating that, in counsel's
judgment, one or more of the following situations exist: (1) a material factual or
legal matter was overlooked; (2) a change in the law occurred after submission of
the case and was overlooked; (3) the opinion conflicts with a decision of the U.S.
Supreme Court, this court, or another court of appeals, and the conflict was not
addressed; or (4) the case involves one or more questions of exceptional

- importance. A petition for rehearing, with or without a petition for rehearing en

banc, may not exceed 3900 words if prepared by computer and may not exceed 15
pages if handwritten or prepared on a typewriter. Copies are not required unless
requested by the court. (FRAP 35 & 40, Loc. R. 40(c)).

MANDATE: In original proceedings before this court, there is no mandate. Unless
the court shortens or extends the time, in all other cases, the mandate issues 7 days
after the expiration of the time for filing a petition for rehearing. A timely petition
for rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
days later. A motion to stay the mandate will ordinarily be denied, unless the
motion presents a substantial question or otherwise sets forth good or probable
cause for a stay. (FRAP 41, Loc. R. 41).

 
